                                          Case 1:94-bk-10684                   Doc 366  FiledFORM
                                                                                              07/27/22
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                                                                                                         Entered 07/27/22 18:33:17                                             Desc
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                                                                         INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                              Page No:    1
                                                                                                     ASSET CASES

Case No.:                  94-10684                                                                                                                      Trustee Name:                               E. Hanlin Bavely
Case Name:                 AAA SPORTS INC                                                                                                                Date Filed (f) or Converted (c):            02/25/1994 (f)
For the Period Ending:     7/27/2022                                                                                                                     §341(a) Meeting Date:                       03/07/1996
                                                                                                                                                         Claims Bar Date:

                               1                                               2                              3                                  4                         5                                        6

                       Asset Description                                    Petition/                 Estimated Net Value                   Property                 Sales/Funds              Asset Fully Administered (FA)/
                        (Scheduled and                                    Unscheduled                (Value Determined by                   Abandoned                Received by              Gross Value of Remaining Assets
                   Unscheduled (u) Property)                                 Value                          Trustee,                  OA =§ 554(a) abandon.           the Estate
                                                                                                    Less Liens, Exemptions,
                                                                                                       and Other Costs)

Ref. #
                                                                                                                                                                                $0.00
Asset Notes:


TOTALS (Excluding unknown value)                                                                                                                                                                   Gross Value of Remaining Assets
                                                                                                                                                                                $0.00




    Major Activities affecting case closing:          AMENDED FROM PREVIOUSLY FILED TIR
     06/30/2022     Case reopened because of newly discovered copyright infringement claim. Counsel appointed for Trustee has instituted an action in the Federal District Court in Sherman, Texas based
                    on copyright infringement and violations of the Digital Millennium Copyright Act, and the matter continues in the early stages of discovery and preliminary filings.


Initial Projected Date Of Final Report (TFR):         12/31/2022                           Current Projected Date Of Final Report (TFR):             12/31/2023                /s/ E. HANLIN BAVELY
                                                                                                                                                                               E. HANLIN BAVELY
